        Case 1:13-cv-00881-RJL Document 139 Filed 12/21/17 Page 1 of 40




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


LARRY KLAYMAN, et al.,

                          Plaintiffs,
v.
                                                             Case No: 1:13-cv-00851-RJL
BARACK OBAMA, et al.,                                        Case No: 1:13-cv-00881-RJL

                          Defendants.



                             PLAINTIFFS’ NOTICE OF APPEAL

       NOTICE is hereby given that Plaintiffs Larry Klayman, Michael Ferrari, Charles Strange,

and Matt Garrison’s (“Plaintiffs”) appeal to the U.S. Court of Appeals for the District of

Columbia Circuit from the Order, of November 21, 2017, granting Defendants’ consolidated

Motion to Dismiss, Exhibit A, and Memorandum Opinion, of November 21, 2017, in Support

Thereof, Exhibit B, and all other orders and rulings averse to Plaintiff in this case.



Dated: December 21, 2017

                                                  Respectfully submitted,


                                                   /s/ Larry Klayman
                                                   Larry Klayman, Esq.
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                                                   Attorney for Plaintiffs



                                                  1
        Case 1:13-cv-00881-RJL Document 139 Filed 12/21/17 Page 2 of 40




                               CERTIFICATE OF SERVICE

       I, Larry Klayman, counsel for Plaintiffs hereby certify that on this day, December 21,

2017, a copy of the foregoing was filed via this Court’s ECF system and served upon all parties

and/or counsel of record.



                                                                   /s/ Larry Klayman
                                                                   Larry Klayman, Esq




                                               2
Case 1:13-cv-00881-RJL Document 139 Filed 12/21/17 Page 3 of 40




           EXHIBIT A
Case
Case1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document139
                                193 Filed
                                    Filed12/21/17
                                          11/21/17 Page
                                                   Page41of
                                                          of40
                                                             1
Case 1:13-cv-00881-RJL Document 139 Filed 12/21/17 Page 5 of 40




           EXHIBIT B
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 6
                                                        1 of
                                                          of 40
                                                             35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 7
                                                        2 of
                                                          of 40
                                                             35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 8
                                                        3 of
                                                          of 40
                                                             35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 9
                                                        4 of
                                                          of 40
                                                             35
Case
Case1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document139
                                192 Filed
                                    Filed12/21/17
                                          11/21/17 Page
                                                   Page10  of35
                                                        5 of  40
Case
Case1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document139
                                192 Filed
                                    Filed12/21/17
                                          11/21/17 Page
                                                   Page11  of35
                                                        6 of  40
Case
Case1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document139
                                192 Filed
                                    Filed12/21/17
                                          11/21/17 Page
                                                   Page12  of35
                                                        7 of  40
Case
Case1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document139
                                192 Filed
                                    Filed12/21/17
                                          11/21/17 Page
                                                   Page13  of35
                                                        8 of  40
Case
Case1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document139
                                192 Filed
                                    Filed12/21/17
                                          11/21/17 Page
                                                   Page14  of35
                                                        9 of  40
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 15
                                                        10 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 16
                                                        11 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 17
                                                        12 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 18
                                                        13 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 19
                                                        14 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 20
                                                        15 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 21
                                                        16 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 22
                                                        17 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 23
                                                        18 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 24
                                                        19 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 25
                                                        20 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 26
                                                        21 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 27
                                                        22 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 28
                                                        23 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 29
                                                        24 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 30
                                                        25 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 31
                                                        26 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 32
                                                        27 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 33
                                                        28 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 34
                                                        29 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 35
                                                        30 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 36
                                                        31 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 37
                                                        32 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 38
                                                        33 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 39
                                                        34 of
                                                           of 40
                                                              35
Case
Case 1:13-cv-00881-RJL
     1:13-cv-00851-RJL Document
                       Document 139
                                192 Filed
                                    Filed 12/21/17
                                          11/21/17 Page
                                                   Page 40
                                                        35 of
                                                           of 40
                                                              35
